Case 1:21-cr-00126-BAH Document 9-2 Filed 02/02/21 Page 1 of 10

AO 245B (Rev. 09/19) Judgment in a Criminal Case - I A Ee D
Sheet | bag
ROS
UNITED STATES DISTRICT COURT cick, us. istrict & Bankruptcy

Gourts for the District of Columbia

 

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.

GREGORY FLETCHER Case Number: CR 19-232-02 (EGS)

JSM Number: 05383-000
JOANNE SLAIGHT/ LAURA CRANE (AUSA) a

)
)
)
)
)
)
)
) Defendant's Attorney

THE DEFENDANT:

Wi pleaded guilty to count(s) 1-10 OF THE SUPERSEDING INFORMATION FILED ON 2/1 8/2020 _

CJ pleaded nolo contendere to count(s)
which was accepted by the court.

C] was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 

 

 

Title & Section Nature of Offense Offense Ended Count
18 USC § 924(c)(1)(A)(i) Using, Carrying, and Possessing a Firearm in Furtherance of 6/29/2019 1
a Crime of Violence
The defendant is sentenced as provided in pages 2 through 10 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
C) The defendant has been found not guilty on count(s) oe
Wi Count(s) All Remaining Counts C] is Wf are dismissed on the motion of the United States.

  
  
   

tri 40 days of any chage of name, residence,
Osed by this judgment are fully paid’ Ifefdered to pay restitution,
iges in economie’circumstances.

.,,_ It is ordered that the defendant must notify the United States attorney for this district withit
or mailing address until all fines, restitution, costs, and special assessments

the defendant must notify the court and United States attomey of material ch

     
 
 
 

  
 
  

ais-ef Imposiua of Tideme
‘Signature of Judge

EMMET G. SULLIVAN U.S. DISTRICT JUDGE

Name and Title of Judge

X If? Bf 22 2/
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 1A

Judgment—Page 2 of T0
DEFENDANT: GREGORY FLETCHER

CASE NUMBER: CR 19-232-02 (EGS)

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
22 DDC § 2801 Robbery 6/25/2019 2
22 DDC §§ 3211 and Second Degree Theft 6/29/2019 3
3212(b)

22 DDC §§ 3211 and Second Degree Theft 6/30/2019 4
3212(b)

22 USC § 303 Destruction of Property 6/23/2019 5
18 USC § 1951 Interference with Interstate Commerce by Robbery 2/13/2019 6
18 USC § 1951 Interference with Interstate Commerce by Robbery 6/18/2019 7
18 USC § 1951 Interference with Interstate Commerce by Robbery 6/19/2019 8
18 USC § 1951 Interference with Interstate Commerce by Robbery 6/24/2019 9

18 USC § 1951 Interference with Interstate Commerce by Robbery 6/27/2019 10
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AO 245B (Rev. 09/19) Judgment in Criminal Case

Sheet 2 — Imprisonment

Judgment — Page 3

DEFENDANT: GREGORY FLETCHER
CASE NUMBER: CR 19-232-02 (EGS)

IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
See page 4

W\ The court makes the following recommendations to the Bureau of Prisons:

of

10

The Court strongly recommends that the defendant be placed at FCI Butner, North Carolina or in the alternative FCI
Petersburg, Virginia. The Court strongly recommends that the defendant must have psychological evaluation/treatment

and substance abuse treatment.

The defendant is remanded to the custody of the United States Marshal.

C] The defendant shall surrender to the United States Marshal for this district:

OO at Oam 0 pm. on
CO as notified by the United States Marshal.

 

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

before 2 p.m. on

 

U1 as notified by the United States Marshal.

CO) as notified by the Probation or Pretrial Services Office.

RETURN

T have executed this judgment as follows:

at

Defendant delivered on to

, with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 2A — Imprisonment
Judgment—Page 4 of 10
DEFENDANT: GREGORY FLETCHER
CASE NUMBER: CR 19-232-02 (EGS)

ADDITIONAL IMPRISONMENT TERMS

Defendant Is Sentenced To A Total Of One Hundred and Forty-Four (144) Months Total Incarceration. The Sentence Was
Imposed In The Following Manner: On Count(s) 1(s), The Defendant Is Sentenced To Sixty (60) Months Incarceration
Consecutive To All Other Counts. On Count 2s, The Defendant Is Sentenced To Forty-Two (42) Months (Eight (8) Months
Consecutive To All Other Counts And Thirty-Four (34) Months Concurrent To All Other Counts. On Count(s) 3s, 4s, and
os, The Defendant Is Sentenced To One Hundred And Eighty (180) Days Incarceration (Concurrent With Each Other And
Consecutive To Count(s) 1s, 2s, 7s, 8s, 9s, 10s. On Count(s)6s, 7s, 8s, 9s and 10s, The Defendant Is Sentenced To
Seventy (70) Months Incarceration (Concurrent With Each Other And Consecutive To All Other Counts).

The 144 Months Of Imprisonment Is To Run Concurrent To Any And All Other Criminal Cases Involving This Defendant.

Pursuant to 18 USC § 3742, the defendant has a right to appeal the sentence imposed by this Court if the period of
imprisonment is longer than the statutory maximum or the sentence departs upward from the applicable Sentencing
Guideline range. If the defendant chooses to appeal, he must file any appeal within 14 days after the Court enters
judgment.

As defined in 28 USC § 2255, the defendant also have the right to challenge the conviction entered or sentence imposed if
new and currently unavailable information becomes available to him or, on a claim that he received ineffective assistance
of counsel in entering a plea of guilty to the offense(s) of conviction or in connection with sentencing.

If the defendant is unable to afford the cost of an appeal, he may request permission from the Court to file an appeal
without cost to him.

Pursuant to D.C. Circuit opinion in United States v. Hunter, 809 F.3d 677, decided on January 12, 2016 - there were no
objections to the sentence imposed that are not already noted on the record.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page _5 of 10

DEFENDANT: GREGORY FLETCHER
CASE NUMBER: CR 19-232-02 (EGS)

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

The Defendant Is Sentenced To A Total Of Five (5) Years Of Supervised Release. The Terms Of Supervised Release Are
As Follows: (5) years On Count 1 And (3) Years On Counts 2, 6, 7, 8, 9and 10. The Terms Of Supervised Release Shall
Run Concurrent To Each Other. The Total Term Of Five (5) Years Of Supervised Release Imposed In This Criminal Case
Shall Run Concurrent To Terms Of Supervised Release In Any And All Other Criminal Cases.

MANDATORY CONDITIONS

—

You must not commit another federal, state or local crime.

2. You must not unlawfully possess a controlled substance,

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

CL) The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4. MW You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
5. M You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
CO) You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. C) You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3A — Supervised Release

Judgment—Page 6 of 10

 

DEFENDANT: GREGORY FLETCHER
CASE NUMBER: CR 19-232-02 (EGS)

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

as

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
Judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: Wwww.uscourts.gov.

Defendant's Signature Date

 

 
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3B — Supervised Release
Judgment—Page 7 of 10
DEFENDANT: GREGORY FLETCHER
CASE NUMBER: CR 19-232-02 (EGS)

ADDITIONAL SUPERVISED RELEASE TERMS

Substance Abuse Testing - The defendant must submit to substance abuse testing to determine if he has used a prohibited
substance. The defendant must not attempt to obstruct or tamper with the testing methods.

Substance Abuse Treatment - The defednant must participate in an inpatient and/or outpatient substance abuse treatment
program and follow the rules and regulations of that program. The probation officer will supervise his participation in the
program (provider, location, modality, duration, intensity, etc.).

Cognitive Behavioral Treatment - The defendant must participate in a cognitive behavioral treatment program and follow
the rules and regulations of that program (provider, location, modality, duration, intensity, etc.). The probation officer will
supervise his participation in the program. Such programs may include group sessions led by a counselor or participation
in a program administered by the probation office.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 8 of 10
DEFENDANT: GREGORY FLETCHER
CASE NUMBER: CR 19-232-02 (EGS)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

 

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 1,000.00 $ 15,420.00 $ $ $
C1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
W{ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payer shall receive an approximately ree payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Farewell Bakery $600.00

406 H Street, NE,

Washington DC 20002

Fourth Street Market $250.00
6900 4th Street, NW

Washington DC 20012

Berlin's Cafe $900.00
322 Massachusetts Avenue, NE

Washington DC 20002

TOTALS $ 0.00 $ 15,420.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
CL] the interest requirement is waived forthe [© fine [{ restitution.

C) the interest requirement forthe © fine (restitution is modified as follows:

* Amy, Vicky, and Andy Child pemmaprepty Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act 0 2015, Pub. L. No. 114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5B — Criminal Monetary Penalties

Judgment—Page 9 of 10
DEFENDANT: GREGORY FLETCHER
CASE NUMBER: CR 19-232-02 (EGS)

ADDITIONAL RESTITUTION PAYEES

Priority or
Name of Payee Total Loss* Restitution Ordered Percentage
Lincoln Park Cleaners $80.00

1301 East Capitol Street, SE

Washington DC 20003

Lola's Barracks Bar And Grill $40.00
711 8th Street SE

Washington DC 20003

Union Kitchen and Grocery $200.00
538 3rd Street SE

Washington DC 20002

Philz Coffee $150.00
1350 Connecticut Avenue NW

Washington DC 20036

The Anthem $8,500.00
901 Wharf Street, SW

Washington DC

Jae Park $4,700.00

Address Unknown

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offi i
or after September 13, 1994, but before April 23, 1996. . " oom SE ONESIES COAT RAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page 10 of 10
DEFENDANT: GREGORY FLETCHER

CASE NUMBER: CR 19-232-02 (EGS)

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A []_ Lump sum payment of $ - due immediately, balance due

C__ not later than , or
1 inaccordancewith  C, 0 D, J E,or CZ F below; or

B  () Payment to begin immediately (may be combined with [IC, [1D,or (1 F below); or
C (Payment in equal ; (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence / (e.g., 30 or 60 days) after the date of this judgment; or
D (Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E () Payment during the term of supervised release will commence within a (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F MJ Special instructions regarding the payment of criminal monetary penalties:

Special Assessment Of $1,000 is due before the expiration of supervised release.
The Court finds that the defendant does not have the ability to pay a fine and, therefore, waives imposition of a fine
in this case.

Unless the court has expressly ordered otherwise, if this nen imposes imprisonment, pe of criminal monetary penalties is due during
the period of imprisonment.’ All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court,

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

VY] Joint and Several

Case Number ;
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

CR 19-232-01 Maurice Jones 45,420.00 15,420.00

(The defendant shall pay the cost of prosecution.
C]_ The defendant shall pay the following court cost(s):

C)_ The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution di ee (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
